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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


ANGELA SINGLETON,

                       Plaintiff,

v.                                                        Case No: 6:16-cv-739-Orl-40TBS

SANTANDER CONSUMER USA, INC.,

                       Defendant.
                                           /

                                           ORDER

       This cause came on for consideration following review of the Joint Stipulation for

Dismissal, in which the parties stipulate to the dismissal of the above-captioned action in

its entirety with prejudice. (Doc. 20). The stipulation of dismissal is self-executing pursuant

to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). See Anago Franchising, Inc. v. Shaz,

LLC, 677 F.3d 1272, 1279 (11th Cir. 2012). Accordingly, the Clerk of Court is DIRECTED

to close the case.

       DONE AND ORDERED in Orlando, Florida on August 4, 2016.




Copies furnished to:

Counsel of Record
Unrepresented Parties
